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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA

Tasha Stuemke f/k/a Tasha Maks,                              Civ. No. 17-1929 (PAM/FLN)

               Plaintiff,

v.                                                                                ORDER

G.C. Services L.P.,

               Defendant.


         This matter is before the Court on a Joint Stipulation of Dismissal with Prejudice.

(Docket No. 22.)       Accordingly, IT IS HEREBY ORDERED that this matter is

DISMISSED with prejudice, without costs, disbursements, or attorney’s fees to either

party.

LET JUDGMENT BE ENTERED ACCORDINGLY.



Dated: May 16, 2018
                                                  s/ Paul A. Magnuson
                                                  Paul A. Magnuson
                                                  United States District Court Judge
